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AO 98 (Rev, 12/11) Appearance Bond

UNITED STATES DISTRICT COURT

for the.
Middle District of Florida
UNITED STATES OF AMERICA
VS. CASE NO: 6:16-mj-1243
GARY HIRST
APPEARANCE BOND
Defendant's Agreement

I, Gary Hirst, (defendant), agree to follow every order of this court, or any court that considers this case, and I
further agree that this bond may be forfeited if fail:

wi to appear for court proceedings;
if convicted, to surrender to serve a sentence that the court may impose; or
J to comply with all conditions set forth in the Order Setting Conditions of Release,

Type of Bond
(1) This is a secured bond of $1,000,000, secured by:

(a) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):
Tracey Hirst; Nancy Hirst; Robert Hirst
Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the
above agreement. The court may immediately order the amount of the bond surrendered to the United States,
including the security for the bond, if the defendant does not comply with the agreement. At the request of the

United States, the court may order a judgment of forfeiture against the defendant and each surety for the entire
amount of the bond, including interest and costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied

and the security will be released when either: ( 1) the defendant is found not guilty on all charges, or (2) the
‘ defendant reports to serve a sentence.
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Declarations

Ownership of the Property. I, the defendant — and each surety — declare under penalty of perjury that:
(1) all owners of the property securing this appearance bond are included on the bond;

(3)

(2) __ the property is not subject to claims, except as described above; and
T will not sell the property, allow further claims to be made against it, or do anything to reduce its

value while this appearance bond is in effect.

Acceptance. _I, the defendant — and each surety- have read this appearance bond and have either read all the
conditions of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.
§ 1746.)

Date: May 11, 2016

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C$ &

Defendant's signature

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Laure /property owner ~ printed name
“Thacey trast

Manon C: Cue

Surety/property owner — signature and date

900 LAKEWORTH CiReLa
LAKE MARY, Fa 22746

Surety/pro, owner — printed name

cy A. MIE

$01-4G(-FESF 7
Surety/property owner — signature and date

8405 RioSan Diego Dy Ste & 32)
San Piego CA GFalogs (t+ 0 7)41 7 H 35349

Surety/property owner — printed name

Robey? HissT-

Date: May 12, 2016

Approved.

Date: May 12, 2016

Surety/property owner ~ signature and date

CLERK OF COURT

orre, Deputy Clerk

“(Be

DAVID A.\BAKER
UNITED STATES MAGISTRATE JUDGE

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